IN THE UNITED STATES DISTRICT COURT
IN THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISI()N

PHYLLIS FOWLKES, )
)
Plaintiff, )
)

v. ) Case No. 04-2964»13¥ T/ pm
)
PRUDENTIAL INSURANCE COMPANY )
OF AMERICA d/b/a PRUDENTIAL )
FINANCIAL and COLONIAL )
DIVERSIFIED POLYl\/[ER PRODUCTS, )
LLC, )
)
Defendants. )

AGREED SCI~IEDULING ORDER

The parties have agreed, and it appears to the Court, that this is an action seeking benefits
under the provisions of an employee benefit plan pursuant to the Employee Retirement Income
Security Act of 1974, 29 U.S.C. §§ 1001'1461 (“ERISA”). Baptist Healthcare v. Wilkins, 150
F.3d 609, (6th Cir. 1998), sets out procedures applicable in claims for benefits under ERISA,
whereby the Court neither holds a trial or decides the case on motions for summary judgment
but, rather, on motions for judgment on the record. Ia'. at 619. Pursuant to Rule 16(b) of the
Federal Rules of Civil Procedures, and the Court of Appeals’ guidelines set out in Wilkins, the
Court hereby sets the following deadlines:

1. The defendants shall serve a copy of the administrative record with the Court, and
supply a copy of same with opposing counsel, no later than May 2, 2005.

2. The plaintiff shall have until May 20, 2005, to notify the Court of any objections
to the administrative record should the parties have any dispute as to whether the record is

complete.

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3. The parties shall file cross-motions for judgment on the record no later than July
22, 2005.

4. The parties shall file responses to the other party’s motion no later than August
26, 2005.

It is so ORDERED.

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JUDGE

APPROVED FOR E R

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Honorable .l ames Todd
US DISTRICT COURT

